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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                     –Southern Division–




 CONSTANCE COLLINS, et al.,
                                                               Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                        EXPERT REPORT OF DICKIE VEST, DVM

Background and Qualifications

1.     My curriculum vitae, which includes a list of the publications I have authored in the
previous 10 years, is attached hereto as Appendix I.

2.     I have not testified as an expert at trial or by deposition during the previous four years.

3.      I am being compensated at a rate of $150.00 per hour, up to a maximum of $1,800.00 per
day, for my time spent in connection with this matter.

4.     My experience includes over 20 years of equine practice, 10 years of board-certification as
a specialist by the American Board of Veterinary Practitioners in Equine Practice, two-year
residency training in equine reproduction, and board-certification by the American College of
Theriogenologists.

Resources

5.     During the course of my engagement, I have reviewed the following documents:

            a. Photographs of the equines at Tri-State from 2015 to present, including
               PETA0002679–2685, PETA0002699–2702, PETA0003503, PETA0003526,
               PETA0003527, PETA008242, and PETA008279;

            b. Photographs and a video (PETA011537) from Plaintiffs’ July 19, 2021 site
               inspection;

            c. Photographs and video (ESA-PETA0001993) from PETA’s March 3, 2018 site
               inspection;

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            d. Defendants’ responses to Plaintiff People for the Ethical Treatment of Animals,
               Inc.’s interrogatories;

            e. Defendants’ responses to Plaintiff People for the Ethical Treatment of Animals,
               Inc.’s requests for documents;

            f. Dr. John Timothy Fox’s responses to PETA’s subpoena to produce documents
               regarding the animals at Tri‐State (Fox 000001–Fox 000082);

            g. Dr. Gale Duncan’s responses to Plaintiffs’ subpoena to produce documents
               regarding the animals at Tri-State (MVS00001–MVS00520);

            h. Dr. Keith Gold’s responses to Plaintiffs’ subpoena to produce documents regarding
               the animals at Tri-State (CAH00001–CAH00192);

            i. Deposition transcripts for the Defendants, Defendants’ veterinarians, and
               Defendants’ volunteer, Rella Moon;

            j. U.S. Department of Agriculture (“USDA”) inspection reports.

Scope of Opinion

6.     I have been retained by counsel for Constance Collins and People for the Ethical Treatment
of Animals, Inc. to opine, from a veterinary perspective, on whether the equines at Tri-State
Zoological Park of Western Maryland (“Tri-State”) are and were provided with adequate housing,
appropriate nutrition, and adequate veterinary care.

Methodology

7.      Tri-State equine husbandry conditions were compared against the USDA, Animal and
Plant Health Inspection Service Program of Veterinary Care (APHIS Form 7002), the
internationally recognized Five Freedoms of animal welfare created in the 1960s ((1) freedom
from hunger and thirst; (2) freedom from discomfort; (3) freedom from pain, injury, and disease;
(4) freedom to express normal behavior; and (5) freedom from fear and distress), and standards for
equine veterinary medical care as established by the American Association of Equine Practitioners
(“AAEP”).1

Opinion

8.      The sanitation of the equine enclosures at Tri-State has been documented to be substandard.
As seen in video footage from PETA’s March 2018 site inspection, the conditions are deplorable:
the entire area shown in the recording was a mud pit, encouraging bacterial and fungal pathogens



1
 See American Association of Equine Practitioners, Guidelines, https://aaep.org/guidelines (last accessed
Sept. 3, 2021).


                                                   2
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to thrive.2 The horses were also covered in mud and appear to be in poor body condition.3
Additionally, footage from the March 2018 and July 2021 site inspections show feed and fecal
(equine, caprine, llama, tortoise, and poultry) material interspersed together, and there was no
green forage available anywhere in the videos.4 The substandard enclosures encourage foot disease
and do not meet the requirements for a grazing animal.

9.      As seen in video footage from PETA’s March 2018 site inspection, the sheltered footing
or ground the equine are housed on is muddy concrete or mud.5 These conditions encourage the
overgrowth of bacteria and fungal organisms, especially of the foot causing debilitating infections.
Additionally, in 2018 and 2021, the equine enclosure included goats, chickens, tortoises, and a
llama. While there are no significant inter-species communicable infectious disease concerns, the
sheer diversity of species bacteria pose a significant foot disease health threat to the horses.
Additionally, it is important to note that horses are grazers (eating ground plants such as grasses)
and goats are browse animals (foraging, e.g., on shrubs and other woody plants); their diets are
opposite. Therefore, the feeding management at Tri-State, which manages species with opposite
nutritional requirements in the same way, makes the horses susceptible to gastrointestinal
disturbances (see infra at ¶ 14).

10.     In opposition to the Five Freedoms, especially freedom to express normal behavior, the
horses at Tri-State are not provided natural enrichment activities, specifically the ability to graze
fresh grass, roam large spaces, and consume high quality forage.

11.     As seen in footage from the July 19, 2021 site inspection, the combination of the dirt lot
and fecal contamination on top of poor foot care has resulted in overgrown hooves that are cracked
and in a poor health condition.6 In equine husbandry, it is typical and an industry standard to have
hooves trimmed every 4 to 6 weeks to prevent overgrowth, cracking, and disease processes—all
of which result in pain. From the footage here it is evident that these hooves are misshapen and
cracked, highlighting neglect rather than proper husbandry.

12.    Photos from June 2015 depict a pony that, based on the established Henneke equine Body
Condition Scoring (BCS) System, would be a 2-3 / 9.7 The pony is likely a 2/9. Ideal BCS, in my
expert opinion, for speed based athletes is a 4 and up to 7 for more sedentary show events or for
nursing mares. A BCS of 2 carries a word picture of “very thin” and indicates undeniable proof of
poor nutrition and/or is indicative of a health status that is unable to maintain ideal weight.


2
    ESA-PETA0001993 at 24:59 (Mar. 3, 2018).
3
    Id.
4
    ESA-PETA0001993 at 24:59 (Mar. 3, 2018); PETA011537 (Jul. 19, 2021).
5
    ESA-PETA0001993 at 28:43 (Mar. 3, 2018).
6
    See, e.g., PETA011220 (Jul. 19, 2021).
7
 See ESA-PETA0002679-2685 (June 9, 2015); ESA-PETA2699-2702 (June 9, 2015). The Henneke equine
Body Condition Scoring (BCS) System is an objective method to correlate body condition with ideal
weight.


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Examples of health status unable to support proper weight would include dental disease, geriatric
animals, parasitism, and systemic metabolic organ disease.

13.     According to Dr. Gale Duncan’s medical records dated May 24, 2018, the veterinarian
specifically recommended an improved feeding plan for an underweight mare nursing a foal.
Specifically, she recommended a senior specific feed, rice bran for weight gain, and free choice
hay.8 There is no documentation that any of these professional recommendations were followed,
and the record evidence suggests that they were not. According to Tri-State volunteer, Rella Moon,
the horses at Tri-State share resources with a llama and goats, and are fed sweet feed—which is
not meant to be a senior feed (like, e.g., Purina Equine Senior™)—and hay.9

14.     Additionally, on at least one occasion, the donkey and ponies in dirt lots were being fed
some type of limbs from a tree.10 Equines are grazing animals, with grass being their primary diet.
Feeding of limbs, branches, and browse material is far from ideal. Horses require a high roughage
diet—2% of body weight is the accepted percentage, of which at least 60% of that should be high
quality forage, not branches.11

15.    Industry standards and the AAEP recommend annual oral exams, parasite screenings every
six months to one year, and annual core vaccines, including rabies, Eastern & Western Equine
Encephalitis, tetanus, and West Nile.12 There are no records to show that Tri-State has provided
any preventative medical care, including oral examinations, parasite control, or annual
vaccinations to any of the equines before or after Dr. Gale Duncan’s tenure as Tri-State’s attending
veterinarian.13

16.    Regarding documented veterinary care of the equines, the only evidence of any medical
care provided to the equines is reflected in Dr. Duncan’s records.14 Dr. Duncan’s records reveal
one documented case of neglect. Specifically, on May 17, 2018, the equine Dream, who was
acquired by Tri-State in 2011, presented as “lethargic, depressed, severely underweight,” “weak,”
and “borderline cachectic.” At the time, Dream “was so underweight and/or underfed that her body
had started metabolizing her own muscle mass to sustain itself”—“a marker of being severely
malnourished.”15

8
 Deposition of Dr. Gale Duncan (“Duncan Dep.”), June 30, 2021, Exh. 56 at MVS00146 (Patient History
Report for Cappuccino (May. 24, 2018)).
9
    Deposition of Rella Mon 108:15–22, Aug. 10, 2021.
10
     ESA-PETA0003503 (Jul. 22, 2017).
11
     See NATIONAL RESOURCE COUNCIL, NUTRIENT REQUIREMENTS OF HORSES (6th ed., 2007).
12
   See American Association of Equine Practitioners, Core Vaccination Guidelines, https://aaep.org/
guidelines/vaccination-guidelines/core-vaccination-guidelines (last accessed Sept. 3, 2021).
13
  See, e.g., Deposition of Dr. Keith Gold (“Gold Dep.”) 108:19–109:1, Jul. 22, 2021 (“Q. Did you ever
examine or treat the . . . mini horses [or] donkey . . . at Tri-State? A. I have not.”).
14
     Duncan Dep. June 30, 2021, Exhs. 44, 54–56 (Patient History Reports for equines).
15
     Duncan Dep. 98:19–18, June 30, 2021.


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                         APPENDIX I
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                                   Dr. Dickie Joe Vest Jr.

14419 Timbergreen Drive                            dickie.j.vest.mil@mail.mil
Magnolia, TX 77355                                 dickie.joe.vest@gmail.com
281-635-0679

Country of Citizenship: United States of America

Security Clearance: Secret

US Army Reserve Military: Colonel (GS 15)

Veterinary Licensure: Texas

EDUCATION

Bachelor of Science – Animal Science, Tarleton State University, 1994
Bachelor of Science – Veterinary Science, Texas A&M University, 1995
Doctor of Veterinary Medicine – Texas A&M University, 1998
Master’s Degree, Master of Strategic Studies, United States Army War College 2017

BOARD CERTIFICATIONS

Diplomate, American College of Theriogenologists
Diplomate, American Board of Veterinary Practitioners (Equine Practice)

MILITARY EXPERIENCE

Commander, O6 / COL (GS 15)                                       March 2019 – Present
352nd Combat Support Hospital, Camp Parks, CA

Serves as the Commander for over 700 assigned personnel, with the mission of establishing
forward resuscitative, surgical, and medical care for all patients in a theater of operations.
Responsible for deployment of medical teams to Guatemala, Honduras, Puerto Rico, and any
mission assigned on short notice. Personally selected to lead change through the reorganization
of two hospitals and creation of multiple new Army units to enhance modularity and deployment
readiness.
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Senior Veterinarian, O6 / COL (GS 15)                               July 2017 – March 2019
3rd Medical Command, Deployment Support

Senior consultant to a two-star Commanding General with five Medical Brigades and five
Veterinary Detachments. Serve as the senior strategic veterinary leader responsible for all
matters regarding animal medicine, food security, and zoonotic disease. Lead proponent for
overseas deployment readiness of five veterinary units, serving as the enterprise level subject
matter expert in veterinary public health. Possesses two military veterinary specialties,
Veterinary Public Health, and Board-certified clinical specialist.

Chief of Staff, O6 / COL (GS 15)                                    September 2015 – July 2017
228th Combat Support Hospital, San Antonio, Texas

Chief of Operations and Administrative Services, functioning as the hospital’s Executive Officer,
providing supervision of all operational elements and staff functions. Responsible for synchrony
of effort across a wide spectrum of operations involving five companies and over 700 assigned
personnel with operations in countries across Europe, South America, and the Middle East.

Chief of Staff / Executive Officer, 05 / LTC (GS 14)           February 2013 – September 2015
176th Medical Brigade, Seagoville, Texas

Serve as Chief of Staff for the 176th Medical Brigade’s full-time, TPU and civilian staff
members. Serves as lead proponent for all policies, objectives and tasks set forth by the Brigade
Commander. Serve as mentor to subordinate commanders and executive officers providing
guidance, teaching, and leadership for professional, military and personal development.
Aggressively promote a business-centric command climate focused on excellence in
administrative metrics. Serve as acting commander during periods of absence of the Brigade
Commander.

Commander, 05 / LTC (GS 14)                                         July 2012 – February 2013
341st Medical Battalion, Multifunctional

Commanded the 341st Multifunctional Medical Battalion with over 600 personnel assigned.
Responsible for 9 detachment and company-sized units across Texas, Oklahoma, Kansas,
Missouri and New Mexico. Mission is to provide a scalable, flexible and modular Medical Battle
Command, administrative assistance, logistical support and technical supervision capability for
assigned and attached medical organizations task-organized for support of deployed forces.
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Commander, 05 / LTC (GS 14)                                           August 2008 – July 2012
994th Medical Detachment, Veterinary Services

Commanded the 994th Medical Detachment (Veterinary Services) with over 120 personnel
assigned. Served as the executive agent for veterinary service support across two Coalition Joint
Operational Areas, supporting over 245,000 Soldiers, Sailors, Airmen, Marines and Department
of Defense contract personnel. Assigned with deployment of 40 Soldiers to Kuwait, Qatar and
Kyrgyzstan. Responsible for clinical medicine, zoonotic disease, and food safety support to
overseas training missions within the 807th Medical Command Area of Operations which covers
South America and the Pacific.

CIVILIAN EXPERIENCE

Associate Veterinarian                                                November 2019 – Present
VCA Kelliwood Animal Hospital, Katy, TX

Hired to serve as the Medical Director for a progressive companion animal hospital focused on
high-quality medical and surgical care. Responsible for daily medical and surgical procedures,
emergency treatment, and hospitalization for canine and feline patients.


Staff Theriogenologist                                         December 2017 – November 2019
Brazos Valley Equine Hospitals, PLLC

Serve as the staff reproduction specialist for one of the largest equine practices in the state with
five locations in Texas and one in Brazil. Responsible for leading the practice in specialized
equine reproductive techniques and services. Led the staff in the opening of a unique
reproductive medical facility in Brenham, Texas. Solely responsible for the development of
government compliance protocols and successfully opened the first USDA certified equine
Semen Collection Center of its kind in Southeast Texas.

Senior Medical Director, Animal Care Centers                        August 2014 – December 2017
Humane Society of the United States, Washington D.C.

Conceptualized and implemented a preemptive new role in corporate leadership at a national
level, headquartered in Washington D.C., oversaw five 501.3(c) animal care centers in Florida,
Massachusetts, Texas, California and Oregon. Responsible for leading and ensuring compliance
with the Animal Welfare Act for over 1,500 permanent resident animals. Streamlined operating
procedures to enforce compliance with regulatory bodies including the Drug Enforcement
Agency, United States Department of Agriculture, Department of Public Safety, Global
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Federation of Animal Sanctuaries and state and local agencies. Led the creation of a peer review
process, like an Institutional Animal Care and Use Committee (IACUC) for all sponsored animal
research projects. Responsible for creation and continuity of corporate policies and procedures
across a wide spectrum of operations in animal care. Provided medical and surgical care to all
residents spanning over 40 species of animals.


Owner, Private Veterinary Practice                                      May 2004 – August 2014
Equine Reproductive Medicine

Created a start-up business with the innovative concept of highly specialized consultation to the
private practitioner in his / her own practice, streamlining referral level reproductive medical and
surgical care available to the end user horse owner in the comfort of their primary care provider’s
regular practice. Highly involved in governmental requirements regarding import / export of
animal products, particularly frozen equine semen. The practice was highly successful for over
10 years and impacted an entire region of the state in referral level reproductive equine
healthcare.

PUBLICATIONS

Evaluation of administration of West Nile virus vaccine to pregnant broodmares, December
2004, Journal of the American Veterinary Medical Association, Vest, et al. This paper was
published at a time of widespread suspicion from the general public that the new West Nile virus
vaccination was causing pregnancy issues and fetal abnormalities in vaccinated mares; we
showed, beyond a shadow of a doubt that vaccination of pregnant mares was safe, resulting in a
greater number of vaccinated horses and less disease spread.

Oviductal Adenoma in a Mare, December 2007, Journal of Equine Veterinary Science, sole
author. This article was published in a peer-reviewed journal, presenting a unique clinical case
not seen in equine practice prior to publication. The purpose of the case report was to present a
new differential diagnosis to the equine practitioner faced with the usual diagnosis of a granulosa
cell tumor, which is commonly seen in equine reproductive medicine-based practice.

MILITARY AWARDS

Bronze Star Medal
Meritorious Service Medal (second “Oak Leaf” device)
Army Commendation Medal (with four “Oak Leaf” devices)
Army Achievement Medal
Army Reserve Component Achievement Medal (with three “Oak Leaf” devices)
National Defense Service Medal
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Afghanistan Campaign Medal with Campaign Star
Global War on Terrorism Expeditionary Medal
Global War on Terrorism Service Medal
Humanitarian Service Medal (JTF Katrina)
Armed Forces Reserve Medal with “M” Device and Bronze Hourglass
Army Service Ribbon
Overseas Service Ribbon (2nd award)
Army Reserve Components Overseas Training Ribbon (with “5” device)
NATO ISAF Medal
Combat Action Badge
Expert Field Medical Badge
Air Assault Badge
